

Nagi v Payne (2020 NY Slip Op 00713)





Nagi v Payne


2020 NY Slip Op 00713


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CARNI, WINSLOW, AND DEJOSEPH, JJ.


88 CA 19-00941

[*1]MOHSIN NAGI AND CARE OF RAMSEY NAGI, POWER OF ATTORNEY, PLAINTIFF,
vTONY PAYNE, JR., ET AL., DEFENDANTS. LIPSITZ GREEN SCIME CAMBRIA, LLP, NONPARTY APPELLANT; THE DIETRICH LAW FIRM P.C., NONPARTY RESPONDENT. (APPEAL NO. 1.) 






LIPSITZ GREEN SCIME CAMBRIA LLP, BUFFALO (JOHN A. COLLINS OF COUNSEL), FOR NONPARTY APPELLANT. 
JOSEPH (JED) E. DIETRICH, III, ESQ., WILLIAMSVILLE, MAGAVERN MAGAVERN GRIMM LLP, BUFFALO (EDWARD J. MARKARIAN OF COUNSEL), FOR NONPARTY RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (Tracey A. Bannister, J.), entered October 26, 2018. The order directed nonparty appellant to distribute $30,506.17 in attorneys' fees to nonparty respondent. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: January 31, 2020
Mark W. Bennett
Clerk of the Court








